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 2
     ATKINSON LAW ASSOCIATES LTD.
 3   376 E Warm Springs Rd, Suite 130
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 4   Telephone: (702) 614-0600
     Attorney for Robert E. Atkinson, Trustee
 5

 6                              UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NEVADA
 7
      In re:                                             Case No. 21-14486-abl
 8
                                                         Chapter 7
 9   INFINITY CAPITAL MANAGEMENT, INC.
      dba INFINITY HEALTH CONNECTIONS,                   NOTICE OF HEARING
10
                           Debtor.                       Hearing Date:       August 11, 2022
11
                                                         Hearing Time:       11:00 a.m.
12
                                                         Location: TELEPHONIC HEARING
13                                                       ONLY
14
                                                         Phone number:        (669) 254-5252
15                                                       Meeting ID:          161 418 4644
                                                         Participant ID:      None
16                                                       Meeting passcode:    758337
17
               NOTICE IS HEREBY GIVEN that the TRUSTEE’S OBJECTION TO CLAIM NO. 6
18
     [DE #230] (the “Objection”) was filed on July 11, 2022 by chapter 7 trustee Robert E. Atkinson
19
     (“Trustee”). The Objection relates to Proof of Claim No. 6 filed by IMTISAL KHURI. The
20
     Objection seeks the Court to adjust the Claim to be a general unsecured claim.
21
               NOTICE IS FURTHER GIVEN that the hearing on the Objection will be held before a
22
     U.S. Bankruptcy Judge at the time and place specified in the caption to this document. This
23
     hearing may be continued from time to time without further notice to you.
24
               NOTICE IS FURTHER GIVEN that a copy of the Objection may be obtained from
25
     either: (i) the Bankruptcy Clerk located on the Fourth Floor of the Foley Federal Building, 300
26
     Las Vegas Boulevard South Las Vegas, Nevada 89101; or (ii) by contacting the Trustee’s
27
     counsel Clarisse L. Crisostomo, Esq. at either (702) 614-0600 or by email at clarisse@nv-
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     lawfirm.com.

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 1
           NOTICE IS FURTHER GIVEN that if you do not want the court to grant the relief
 2
     sought in the Objection, or if you want the court to consider your views on the Objection, then
 3
     you must file an opposition with the court, and serve a copy to the Trustee’s counsel no later
 4
     than 14 days preceding the hearing date for the Objection, unless an exception applies (see
 5
     Local Rule 9014(d)(3)). The opposition must state your position, set forth all relevant facts and
 6
     legal authority, and be supported by affidavits or declarations that conform to LR 9014(c).
 7
       If you object to the relief requested you must file a WRITTEN response to this pleading with
 8
       the court. You must also serve your written response on the person who sent you this notice.
 9
       If you do not file a written response with the court, or if you do not serve your written
10     response on the person who sent you this notice, then:
11
             •   The court may refuse to allow you to speak at the scheduled hearing; and
12
             •   The court may rule against you without formally calling the matter at the hearing.
13

14
     DATED: July 11, 2022                             ATKINSON LAW ASSOCIATES LTD.
15
                                                      By:         /s/ Clarisse L. Crisostomo
16                                                          CLARISSE L. CRISOSTOMO, ESQ.
                                                            Nevada Bar No. 15526
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                                                            Attorney for Robert E. Atkinson, Trustee
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